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EXHIBIT F

Exhibit F

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION

ALFREDO GUERRERO MENDOZA AND
HERMELINDO GUERRERO ESTRADA, on
behalf of themselves and others similarly-

§
§
§
situated, §
§
Plaintiffs, §
§ CIVIL ACTION NO: 4112-CV-562
v. §
§ FLSA COLLECTIVE ACTION
A&A LANDSCAPE AND IRRIGATION, LP, §
and DAVID ANDERTON §
§
Defendants. §

LTICM{IGM

To: All current and former employees of A&A Landscape and Irrigation, LP at any time from
August 27, 2009 to present

Re: Fair Labor Standards Act lawsuit against A&A Landscape and Irrigation, LP

This case was filed by Alfredo Guerrero l\/lendoza and Hermelindo Guerrero Estrada,
former employees of A&A Landscape and lrrigation LP who allege that they were denied
overtime compensation for each hour worked in excess of forty (40) in a workweek while
working for A&A Landscape and lrrigation, LP. Plaintiffs claim that they are entitled to
additional compensation for every hour of overtime they worked during the time period from
August 27, 2009 to the present For those unpaid hours worked in excess of forty (40) in a
particular workweek, Plaintiffs seek this additional compensation at one and one-half their
hourly rates, plus an additional equal amount of liquidated damages

lf you are among the persons to whom this Notice is addressed and you wish to have your
right to overtime pay litigated in this case, you should sign the Consent and return it to counsel
for Plaintiffs in the enclosed self-addressed envelope. It is entirely your own decision whether to
join this lawsuit and whether to allow counsel for Plaintiffs to represent you.

If you Wish to speak with counsel for Plaintiffs, you may contact Maricela Moore at 214-
361-5600 for more information

You are not required to join this case. However, your determination whether or not to do
so must be made promptly. Unless a Notice of Consent is actually filed with the Court on or
before , you will not be permitted to join this case.

EXHIB|T
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If you do not return the enclosed Notice of Consent by the date listed above, you will not
receive any back wages for overtime or other relief in this case, if Plaintiffs prevail.

If you decide to join this case, you will be bound by the judgment of the Court on all
issues of the case, whether or not favorable

This Notice is for the sole purpose of determining the identity of those persons who wish
to be involved in this case. Although the Court authorized the sending of this Notice, there is no
assurance at this time that the Court will grant the relief requested in this case.

THE FLSA PROHIBITS ANY()NE FROM DISCRIMINATION OR RETALIATING
AGAINST YOU IF YOU CHOOSE TO TAKE PART IN THIS CSE. THIS MEANS YOU
CANNOT BE FIRED, DEMOTED, HAVE YOUR PAY CUT, OR REPORTED TO THE
IMMIGRATION AND NATURALIZATION SERVICE BECAUSE YOU PARTICIPATE
IN THIS CASE.

Hermelindo Mendoza Estrada and Alfredo Mendoza Guerrero

By:

 

Maricela Moore, counsel for Plaintiffs
FarroW-Gillespie Heath LLP

1700 Pacific Ave. Ste. 1700

Dallas, Texas 75201

214-361-5600

maricela@fghlaw.net

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION

ALFREDO GUERRERO MENDOZA AND §
HERMELINDO GUERRERO ESTRADA, on §
behalf of themselves and others similarly- §
situated, §
§
Plaintiffs, §
§ CIVIL ACTION NO: 4112-CV-562
v. §
§ FLSA COLLECTIVE ACTION
A&A LANDSCAPE AND IRRIGATION, LP, §
and DAVID ANDERTON §
§
Defendants. §
NOTICE OF RIGHTS

To: Todos los empleados y ex empleados de A & A Landscape and lrrigation, LP a cualquier
hora del 27 de agosto de 2009 para presentar

Re: Fair Labor Standards Act demanda contra A&A Landscape and lrrigation, LP

Este caso fue presentado por Alfredo Guerrero Mendoza y Hermelindo Guerrero Estrada,
ex empleados de A&A Landscape and Irrigation, LP que alegan que se les nego compensacion
por horas extras por cada hora trabajada en exceso de cuarenta (40) horas en una semana,
mientras trabajaba para A&A Landscape and lrrigation, LP. Los Demandantes alegan que tienen
derecho a una indemnizacion adicional por cada hora de overtime trabajaron durante el periodo
del 27 de agosto de 2009 hasta el presente. Para esas horas no remuneradas trabaj adas en exceso
de cuarenta (40) horas en una semana particular, los demandantes buscan esta compensacion
adicional a una vez y media sus tarifas por hora, mas una cantidad adicional igual de danos y
perju1cios.

Si usted esta entre las personas a las que este anuncio se dirige y usted desea que su
derecho a pago de horas extras de litigio en este caso, usted debe firmar el consentimiento y
devolverlo a los abogados de los demandantes en el adjunto con su direccion. Es enteramente su
propia decision si unirse a esta demanda y si se permite el abogado de los demandantes para que
lo represente.

Si usted desea hablar con el abogado de los demandantes, puede comunicarse con
Maricela l\/[oore en 214-361-5600 para mas informacion.

Usted no esta obligado a unirse a este caso. Sin embargo, su determinacion de si o no
hacer lo que debe hacerse con prontitud. A menos que un Aviso de Consentimiento es en

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realidad presentado ante el Tribunal a mas tardar el , no se les permitira
unirse a este caso.

Si usted no devuelve la notificacion adjunta de Consentimiento para 1a fecha indicada
arriba, usted no recibira los salarios caidos por las horas extraordinarias u otra reparacion en este
caso, si los demandantes prevalecer.

Si decide inscribirse en este caso, estara obligado por la sentencia de la Corte sobre todos
los asuntos del caso, sea o no favorable

Este aviso es para el unico proposito de determinar 1a identidad de las personas que
deseen participar en el presente caso. Aunque la Corte autorizo el envio de esta notificacion, no
hay seguridad en este momento que la Corte otorgara 1a reparacion solicitada en el presente caso.

LA FLSA PROHlBE A CUALQUIER PERSONA DE LA DISCRIMINACI(')N O
REPRESALIAS C()NTRA USTED SI USTED ELIGE A PARTICIPAR EN ESTA CSE.
ESTO SIGNIFICA QUE NO PUEDE SER DESPEDIDO, DEG'RADAI)O, TIENE SU
CORTE 7I)E l’AG(), 0 COMUNICARSE AL SERVICIO l)E `lNMIGRAClON Y
NATURALIZACICN POR QUE PARTICIPAR EN ESTE CAS().

Hermelindo Mendoza Estrada y Alfredo Mendoza Guerrero

By:

 

Maricela Moore, los abogados de los Demandantes
Farrow-Gillespie Heath LLP

1700 Pacific Ave. Ste. 1700

Dallas, Texas 75201

214-361-5600

maricela@fghlaw.net

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CONSENT TO JOIN COLLECTIVE ACTION LAWSUIT

1. I worked for A&A Landscape and Irrigation, L.P. and David Anderton as a
laborer. During the time that 1 worked for the Company, I regularly worked more than 40 hours
each week. l did not receive time and a half for the hours over 40 that I worked each week. l
also did not receive my regular rate of pay for hours over 40 that l worked each week.

2. I consent to join the FLSA collective action titled Alfredo Guerrero Mena'oza, el'.
al, v. A&A Landscape and Irrigation, L.P., et al., pending in the United States District Court for
the Eastern District of Texas, to recover my unpaid wages and all other damages allowed by the
FLSA.

3. I choose to be represented in this matter by the named plaintiffs and counsel,
Maricela Moore of the law firm Farrow-Gillespie Heath LLP.

Dated:

 

[printed name]

 

AVISO DE CONSENTIMIENTO

1. He trabajado para A & A Landscape and lrrigation, LP y David Anderton como
obrero. Durante el tiempo que trabajc') para la Compania, yo trabajaba regularmente mas de 40
horas a 1a semana. No recibi tiempo y medio por las horas de mas de 40 que trabajaba cada
semana. Yo tampoco he recibido mi tasa regular de pago por mas de 40 horas que trabajo cada
semana.

2. Doy mi consentimiento para participar en 1a accion colectiva titulada FLSA
Alfrea'o Guerrero Mendoza, et al, v A & A Landscape and Irrigatz'on, LP, el' al., pendiente en el
Tribunal Federal de Distrito para el Distrito Este de Texas, para recuperar mis sueldos no
pagados y todos los otros danos permitidos por la FLSA.

3. Elijo estar representados en esta materia por los demandantes nombrados y
abogados, Maricela Moore, de 1a firma de abogados Farrow-Gillespie Heath LLP.

Dated:

 

[nombre escrito]

 

